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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 18-3893-RGK (AGRx)                                          Date     March 5, 2019
 Title             Edwardo Munoz v. 7-Eleven, Inc.




 Present: The                    Alicia G. Rosenberg, United States Magistrate Judge
 Honorable
                 Karl Lozada                                    N/A                                N/A
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                               n/a                                                   n/a
 Proceedings:                  MINUTE ORDER RE FURTHER ORDER ON TELEPHONIC
                               DISCOVERY CONFERENCE (Dkt. No. 54)

       The court conducted a telephonic discovery conference on February 28, 2019 and issued a
minute order. (Dkt. No. 55.) The court heard oral argument on Item No. 1 and took the matter under
submission at that time.

        The parties explained that, pursuant to the District Judge’s Order Granting Motion for Approval
of Proposed Notice Plan (Dkt. No. 50), Defendant will provide class member identifying information to
the claims administrator Kurtzman Carson Consultants (“KCC”). Plaintiff requests that Defendant
provide the same information to Plaintiff’s counsel. (Motion for Order, Dkt. No. 54.)

        The parties agreed at oral argument that discovery from class members is not needed for the
merits of this case.1 Plaintiff seeks the information because the notice gives a potential class member
several options including the option of contacting class counsel, and provides class counsel’s name,
address, phone number and email address. (Dkt. No. 46-2.) Plaintiff contends his counsel would use
the class member information to confirm that a person on the phone is a member of the class. Plaintiff
did not explain why he would need to cross reference the caller with the class list, given the parties’
agreement that no discovery is needed from any class member. The parties could not find any case law
regarding this issue and agreed that the court could take the matter under submission after oral argument
without further briefing.

        “Parties may obtain discovery regarding any nonprivileged matter that is relevant to any party’s
claim or defense and proportional to the needs of the case, considering the importance of the issues at
stake in the action, the amount in controversy, the parties’ relative access to relevant information, the
parties’ resources, the importance of the discovery in resolving the issues, and whether the burden or


         1
          The fact that class members possess information relevant to the class claims is usually the
basis for Plaintiff’s request for contact information. E.g., Wiegele v. Fedex Ground Package Sys., 2007
U.S. Dist. LEXIS 9444, *5-*7 (S.D. Cal. Feb. 8, 2007).
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expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). “District
courts have broad discretion in determining relevancy for discovery purposes.” Surfvivor Media, Inc. v.
Survivor Prods., 406 F.3d 625, 635 (9th Cir. 2005).

        The court finds that Plaintiff’s request for the class member information provided to KCC is not
proportional to the needs of the case. The parties agree that the requested information is not relevant to
the merits of the case. Plaintiff’s flimsy reason for requesting the information is therefore outweighed
by the burden of any Belaire-West notice or other notice advising class members of their right not to talk
to counsel in the event Plaintiff’s counsel initiates contact. Plaintiff’s request that Defendant provide
class member contact information to his counsel is DENIED.




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